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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF ARIZONA

Tina Weeks, Michael McDonald, and
Cassandra Magdaleno, individually and
on behalf of others similarly situated,

             Plaintiff,
                                              Civil Action No. 2:20-cv-00884-SPL
v.

Matrix Absence Management, Inc., an
Arizona Company,

             Defendant.


         PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION FOR
              DECERTIFICATION OF COLLECTIVE ACTION




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        The key question here is whether Plaintiffs are similarly situated.1 Under Campbell:

“Plaintiffs are similarly situated … to the extent they share a similar issue of law or fact material

to the disposition of their FLSA claims.” Id., at 1117. "Significantly, as long as the proposed

collective’s ‘factual or legal similarities are material to the resolution of their case, dissimilarities

in other respects should not defeat collective treatment.”’2 As Campbell further explains,

        Under section 216(b), if the party plaintiffs are similar in some respects material
        to the disposition of their claims, collective treatment may be to that
        extent appropriate, as it may to that extent facilitate the collective litigation of the
        party plaintiffs’ claims. District courts have ample experience managing cases in
        this way. For example, Rule 42, which offers a closer analogy to the collective
        mechanism than Rule 23, already provides for the possibility of partial
        consolidation for trial, to the extent separate actions involve common questions
        of law or fact. Fed. R. Civ. P. 42(a)(1).3

The “FLSA does not give district courts discretion to reject collectives that meet the statute’s

few, enumerated requirements. Id., at 1115. Rather, “decertification… of otherwise similarly

situated plaintiffs cannot be permitted unless the collective mechanism is truly infeasible.” Id.

In Campbell, decertification was affirmed because it was infeasible to proceed collectively where

the plaintiffs failed to provide evidence of a uniform policy—like Matrix’s uniform policy

classifying all Telephone Claims Examiners (“TCES”) here as exempt administrators—to link

the collective.4 Plaintiffs’ claim relies on a theory that Matrix classified CFEs as exempt from

the FLSA and the Class did not receive overtime due to the misclassification.



1 Id., at 1111 (“‘similarly situated’ is the key condition for proceeding in a collective, and thus
the issue on which a grant or denial of decertification generally depends”).
2 Senne v. Kansas City Royals., 934 F.3d 918, 948 (9th Cir. 2019) (quoting Campbell, at 1114).
3 Campbell, at 1115.
4 Campbell establishes that, without evidence of a common policy linking all collective action

members, courts will not find plaintiffs “similarly situated,” regardless of the ways in which
the plaintiffs may be similar. See Campbell, at 1120-21 (affirming district court’s decertification

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       The FLSA employs a two-part conjunctive primary job duty test to determine whether

workers are employed in a bona fide administrative capacity. As explained by the DOL:

       [T]he final administrative exemption regulations establish a two-part inquiry for
       determining whether an employee performs exempt administrative duties. First,
       what type of work is performed by the employee? Is the employee's primary
       duty the performance of work directly related to management or general
       business operations? Second, what is the level or nature of the work performed?
       Does the employee's primary duty include the exercise of discretion and
       independent judgment with respect to matters of significance? See, e.g., Bothell v.
       Phase Metrics, Inc., 299 F.3d 1120, 1125-26 (9th Cir. 2002) (looking to both the
       type of work and the importance of the work).5

To defeat the administrative exemption, Plaintiffs need only demonstrate that Matrix cannot

meet one of the two elements: If Plaintiffs present common proof on either potentially

dispositive element, Plaintiffs “are similarly situated and may proceed as collective” because

they “share a similar issue of law or fact material to the disposition of their FLSA claims.”

Campbell, at 1117. Indeed, precedent makes clear summary judgment and class certification

are warranted based on common proof capable of negating the “directly related” prong of the

administrative exemption, without need to analyze the exemption’s other elements.6

       Matrix attempts to have the court decertify this case by concentrating on slight

differences in the day-to-day job duties performed by CFEs relevant to only one prong of the



order in off-the-clock case because police officers did not offer evidence probative of a
departmentwide policy discouraging reporting of overtime).
5 Defining and Delimiting the Exemptions for Executive, Administrative, Professional,

Outside Sales and Computer Employees, 69 Fed. Reg. 22,122, 21,144 (April 23, 2004).
6 McKeen-Chaplin v. Provident Sav. Bank, FSB, 862 F.3d 847, 849 (9th Cir. 2017); Heffelfinger v.

Elec. Data Sys. Corp., 492 F. App'x 710, 714 (9th Cir. 2012) (“The class members shared a
common question of law: whether the [CFEs’] duties constituted “work directly related to
management policies or general business operations,” of [Matrix] or its customers. Because
this question predominated … over any need for individualized inquiry into class members'
responsibilities, the district court did not err in certifying the class.”).

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exemption. See ECF 112. However, as established by Matrix’s own cited case law, Campbell

rejected the use of the “ad hoc” test for decertification because of the test’s ‘“focus on

differences rather than similarities among”’ plaintiffs, which led ‘“district courts [to] treat[]

differences as disqualifying, rather than one that treats… similarity’ as the key.”7 The Second

Circuit recently adopted the Campbell standard in Scott, a case involving the administrative

exemption. In that case, the Second Circuit explains that the district court correctly noted,

“the differences in the actual job duties of the [CFEs] are ‘better suited for the predominance

inquiry…” and that the differences cited “will not prove fatal to the similarly situated analysis

in the same way they proved fatal to the predominance inquiry in this case.”8

       Matrix’s Motion must be denied under Campbell, because Plaintiffs have met their

burden to show that the CFEs are similarly situated for purposes of resolving whether they

were subject to a common FLSA-violating policy: Matrix’s uniform exemption policy that

classifies all CFEs as exempt administrators. Nothing more is required under Campbell.

    I. MATRIX’S MOTION MUST BE DENIED UNDER CAMPBELL

       Matrix’s Motion likely lacks a Rule 11 basis under Campbell. First, the motion

concentrates on the differences, rather than the similarities, between CFEs: This contravenes

the purpose behind Campbell.9 Second, the motion relies on Guanzon and Julian to irrationally



7 Campanelli v. Image First Healthcare Laundry Specialists, Inc., 2018 WL 6727825, at *6 (N.D. Cal.
Dec. 21, 2018) (quoting Campbell, at 1113)).
8 Scott v. Chipotle Mexican Grill, Inc., 954 F.3d 502, 521–22 (2d Cir. 2020), cert. dismissed, 142 S.

Ct. 639, 211 L. Ed. 2d 421 (2021)
9 Campbell, at 1117 (9th Cir. 2018) (“[U]sing the ad hoc test, with its focus on differences rather

than similarities among the party plaintiffs, improperly led the district court into an approach
that treats difference as disqualifying, rather than one that treats the requisite kind of similarity
as the basis for allowing partially distinct cases to proceed together.”).

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argue that Plaintiffs’ common proof on the potentially dispositive “directly related” prong is

inconsequential because of its own opinion that the “dispositive issue in this case” is the

discretion prong; and that because differences exist among the collective for purposes of

“discretion prong,” prong, the Court should decertify the collective—in full. ECF 112, p. 4,

9. Had Guanzon properly applied Campbell, the court would have allowed the collective

adjudication of the “directly related” prong, and used its case management tools to facilitate

the process. 1011 Julian, on the other hand, actually supports denial of decertification, because

the court in that case granted decertification, yet in the same opinion, determined that all

members of the collective were administratively exempt (this makes no sense).12 Third, the

motion, by citing to Step-One cases, implies the Court has the same more discretion to deny

collective treatment at Step-Two than at Step-One: Under Campbell, it has less.13




10 Campbell, at 1115. See also, n. 5 (containing full quotation).
11 However, all blame cannot be cast on the Court in that case because the briefing submitted
by the plaintiffs in that case was subpar, at best. See Ex. C.
12 Julian, 2021 WL 3887763, at *14 (S.D.N.Y. Aug. 31, 2021) (“The undisputed facts in the

record demonstrate that Metlife Claim Specialists’ “primary duty is the performance of office
or non-manual work directly related to the management or general business operations of the
employer or the employer's customers” and “includes the exercise of discretion and
independent judgment with respect to matters of significance.”); Id., at 10 (“Claim Specialists’
“primary duty” is handling LTD benefits claims and that this duty is “directly related to the
management of general business operations” of Metlife or its customers. Metlife sells
insurance policies – the primary output of its business.”).
13 Id., at 1115-16 (“[I]f the party plaintiffs’ FLSA right to choose collective litigation has any

force, “procedural considerations” must mean more than the inconvenience…. Accordingly,
… decertification of a collective action of otherwise similarly situated plaintiffs cannot be
permitted unless the collective mechanism is truly infeasible.”). Id., at 1110 (“The district court
took the view that it had the same discretion in considering a motion for decertification as it
had on preliminary certification. It did not. Preliminary certification… is an area of substantial
district court discretion. Post-discovery decertification is not an inquiry into the propriety of
notice, and so operates under a different standard.”).

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       Matrix attempts to support its position by citing to inapposite case law involving

conditional certification,14 decertification under the now defunct ad hoc test,15 Rule 23 class

certification;16 and summary judgment on the executive exemption.17 The only on-point cases

that Matrix cites support Plaintiffs’’ position: These four “insurance adjuster” cases expose

that courts frequently determine whether workers qualify for the administrative exemption,

including under 29 U.S.C. 203(a), on a class or collective basis.18

       Here, a uniform administrative exemption policy exists and presentation of common

proof negating either prong of the exemption is dispositive on liability. Because the

decertification test in Campbell requires focus on the dispositive similarities—instead of the ad

hoc “three prong test that focuses on points of potential factual or legal dissimilarity between


14 Colson v. Avnet, Inc., 687 F. Supp. 2d 914, 925 (D. Ariz. 2010); Trinh v. JP Morgan Chase & Co.,
2008 WL 1860161 (S.D. Cal. Apr. 22, 2008)
15 Green v. Harbor Freight Tools USA, Inc., 888 F. Supp. 2d 1088, 1102 (D. Kan. 2012); Mike v.

Safeco Ins. Co. of Am., 274 F. Supp. 2d 216, 220 (D. Conn. 2003).
16 Marlo v. UPS, Inc., 639 F.3d 942, 948-49 (9th Cir. 2011); Vinole v. Countrywide Home Loans,

Inc., 571 F.3d 935, 945-46 (9th Cir. 2009
17 Thomas v. Speedway SuperAmerica, LLC, 506 F.3d 496, 507 (6th Cir. 2007) (granting summary

judgment on executive exemption)
18 In re Farmers Ins. Exch., Claims Representatives' Overtime Pay Litig., 481 F.3d 1119, 1130 (9th Cir.

2007) (determining on a class and collective basis that, the “district court’s findings [regarding
insurance adjusters employed by insurance company] almost track word for word the language
in § 541.203, and thus establish [the] claims adjusters are exempt.”); Julian v. MetLife, Inc., 2021
WL 3887763, at *10 (S.D.N.Y. Aug. 31, 2021) (determining that Claims Specialists employed
by insurance company collectively performed the same primary duty—“handling LTD
benefits claims” and that the primary duty was directly related to “primary output of [the
employer’s] business”—sell[ing] insurance policies); Roe-Midgett v. CC Servs., Inc., 512 F.3d 865,
875 (7th Cir. 2008) (determining that employees did not collectively qualify for the
administrative exemption where their job duties included negotiating with body shops,
preparing damage estimates using software and settling claims up to $12,000); MClaughlin v.
Nationwide Mut. Ins. Co., 2004 WL 1857112, at *10 (D. Or. Aug. 18, 2004) (holding claims
representatives working for insurance company collectively satisfied directly related prong
because they made decisions in setting reserves, settling claims and negotiating claims that
“can and do have substantial impact to defendants” and its policy holders).

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plaintiffs”19—Matrix fails to provide relevant arguments under Campbell. The rest of this

Response will focus on showing the dispositive similarities shared by all CFEs, because the

Matrix’s argument that “differences exist and matter” have no legal or factual basis.

     II.      PLAINTIFFS MEET THE LENIENT BURDEN UNDER CAMPBELL

           Decertification must be denied under Campbell because the Plaintiffs’ common proof

establishes that Matrix subjected all CFEs to a common policy that classified them as exempt

administrators and denied them overtime; and the common proof establishes that they are

similarly situated for each dispositive prong of the administrative exemption, and otherwise

do not qualify as exempt administrators under 29 C.F.R. 203(a).

     A. Common Proof Shows All TCEs Were Subjected to the Same Uniform Policy

           Matrix’s uniform exemption policy “suggests that [Matrix] believes some degree of

homogeneity exists among the employees” and such “uniform corporate policies will often

bear heavily on questions of predominance and superiority.”20 It also supports continued

collective treatment under the Campbell standard: The Ninth and Second Circuits21 have

analogized to the Rule 23 commonality, as both standards require identification of “shared

issues that will collectively advance the prosecution of multiple claims in a joint proceeding.”22



19 Id., at 1113 (emphasis in original).
20 In re Wells Fargo, 571 F.3d at 957–58.
21 Notably, the Second Circuit, employing the same standard as Campbell, recently remanded a

case to the district court in a case involving the administrative exemption. Scott, at 521.
Significantly, on remand, the Second Circuit charged the district court to reconsider its
decertification decision, and to specifically consider its commonality finding, based on the
employer (1) uniformly classified the employees as exempt; (2) having the same expectation
that the core duties of the employees were the same; and (3) the employer’s use of a single job
description for the position, in doing so. Scott, at 521
22 Campbell, at 1115; Scott, at 521-522.



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     B. Matrix Admits that all TCEs Performed the Same Primary Job Duty: Processing Claims
        in Accordance with Language in Customer Policies and State/Federal Law

     Matrix admits that the CFEs share the same primary job duty: CFEs’ processed claims and

this job duty required CFEs to “review information provided by the client, compare it to the

clients’ policies and guidelines and make [a] decision on whether to approve or deny the claim.”

ECF 112, p. 5-6. Matrix claims that this primary duty requires “independent discretion and

judgment” for the same reason: Processing claims requires the CFE to apply “contract

language” from “disability/leave policies” or “federal and state law” legal standards to process

claims.23 Because Matrix admits CFEs share the same primary duty, whether that duty is

”directly related” or “includes discretion” can be resolved on a collective basis.

     C. CFEs are Similarly Situated for Resolving the “Directly Related” Prong

        To establish its only defense, Matrix must show the CFEs’ primary duty “was directly

related to the management or general business operations” of Matrix or its customers. 29 §

541.201(a). The regulations contain examples of directly related work at 29 C.F.R 201(b) that,

        [distinguish between work that] any employer needs performed such as
        accounting, human resources and regulatory compliance—and work that is
        particular to an employer’s industry. The former is part and parcel of running a
        business and therefore exempt administrative work. The latter is not.”24




23
   ECF 112, p. 1 (“Matrix [processes] requests for leaves of absence under state and federal
laws and employer policies” … and “processes” claims for disability benefits based on client
policies….”) (citing Ex. 1, ¶ 1-2); Id., p. 1 (“Adjudicating claims requires … understanding of
federal and state laws [and] the ability to interpret contractual language to varying fact
patterns…”) (citing Ex. 1, ¶¶ 3-5).
24 Bollinger v. Residential Cap., LLC, 863 F. Supp. 2d 1041, 1048 (W.D. Wash. 2012) (citing Bratt,

at 1070).

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“[This prong] is met if the employee engages in running the business itself or determining its

overall course or policies, not just in the day-to-day carrying out of [the] business’ affairs.”

Bothell, 299 F.3d at 1125. As further explained in Plaintiffs’ Motion for class certification:

          The regulations define exempt administrative duties in part by explaining what
          they are not. Administrative work does not include work on a manufacturing
          line or selling a product in retail or service establishment.”25 This anti-
          administrative “production work” relates to the “goods and services which
          constitute the business’ market place offerings” rather than traditional notions
          of manufacturing.26 This analysis turns on whether the services provided by the
          employee constitute the marketplace offerings of the employer, or whether they
          contribute to the running of the business itself. Courts have consistently held
          that claims examiners who work for third party administrators do not
          qualify as exempt administrators because they “produce” the services
          those companies exist to sell.27

          Work directly related to the management or general business operations of the
          employer’s customers may also be exempt. 29 C.F.R. § 541.201(c). “In this
          context, the major example of exempt administrative work is high level advice
          or analysis. ‘Thus, for example, employees acting as advisers or consultants to
          their employer’s clients or customers (as tax experts or financial consultants, for
          example) may be exempt.”’28



25 29 C.F.R. 201(b).
26Davis  v. J.P. Morgan Chase & Co., 587 F.3d 529, 535–36 (2d Cir. 2009) (quoting Bothell, at F.3d
1120, 1127/
27 Clark v. Centene Co. of Texas, L.P., 44 F. Supp. 3d 674, 684 (W.D. Tex. 2014), aff'd, 656 F.

App'x 688 (5th Cir. 2016) (holding “case managers” that review health insurance claims to be
non-exempt production workers, explaining that, “Plaintiffs are uniquely positioned to
“produce” [defendant]’s “product”—in this case, the service of administering [insurance]
claims. If Plaintiffs are administrative employees, it is difficult to conceptualize who
within [Defendant’s]organization is not an administrative employee.”); Rego v. Liberty Mut.
Managed Care, LLC, 367 F. Supp. 3d 849 (E.D. Wis 2019) (nurses employed by third-party
administrator to review workers’ compensation claims were involved in “core function” of the
company and were therefore not covered by the administrative exemption); Scott Wetzel Services
Inc. v. New York State Bd. of Indus. Appeals 252 A.D. 2d 212, 215 (1998) (granting summary
judgment on “directly related” prong to worker’s compensation insurance adjusters whose
employer’s business was the administration of worker’s compensation claims on behalf of its
clients); Reich v. Am. Intern. Adjustment Co., Inc., 902 F. Supp. 321, 325 (D. Conn. 1994).
28 Bollinger, 863 F. Supp. 2d at 1048 (citing 29 C.F.R. § 541.201(c)).



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ECF 114, p. 13-14. In Dewan, the Fifth Circuit explained that whether an advisor or

consultant’s duties fit within the administrative exemption turns on whether the employees’

duties are “directly related to management or general business operations” of the customer.29

It further explained that, “the focus is not on a general concept of advice or consultancy but

rather on ‘policy determinations [for] how a business should be run or run more efficiently.’”30

       Common proof shows Matrix is not an insurance company; it is a licensed third-party

administrator (“TPA”) that processes STD and LOA claims for its customers: As a licensed

TPA, Matrix “administer[s] claims” for its customers, and employs CFEs to “administer

claims” for those customers. Id., at 55-56; ECF 60 (Answer), ¶¶ 2-3. The “administrative

services” produced by CFEs are the “primary services” sold by Matrix to its customers. 30B6

Dep., at 29, 125.31 Matrix contracts with customers—which include employers who offer

disability/leave plans and an insurance company—to process claims in accordance who with

the policies, procedures, and criteria in the customers’ policy/plan. Id., at 73, 139.

       Common evidence shows that, apart from processing claims in accordance with

customer plans, TCEs play no role in administering Matrix’s business or taking on major

assignments related to its or its customers’ operations. 30B6 Dep., at 104-05, 129. TCEs do

not supervise anyone. (Id., at 55, 130), formulate or interpret employment policies; make

staffing or promotion decisions; set Matrix’s budgets; plan Matrix’s business objectives; or

study business operations to develop proposed changes for Matrix or its customers. Id., at 109-


29 Dewan v. M-I, LLC, 858 F.3d 331 (5th Cir. 2017) (quoting and adopting Bratt v. Cty. of Los
Angeles, 912 F.2d 1066, 1070 (9th Cir. 1990)) (emphases in original).
30 Id. (quoting Bratt, 912 F.2d at 1070) (alteration in original).
31 See also id., at 124 (Matrix’s “primary function is to manage claims” and that Matrix employs

TCEs to “manage[] the claims” in accordance with customer plan criteria).

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111, 117. CFEs have no authority to negotiate on behalf of or bind Matrix into contracts with

third parties, including Matrix customers. Id., at 104-107. CFEs do not direct the work of

customers’ employees and their only communication with Matrix customers related to specific

claims filed under the customer’s specific policy/plan. Id., at 129-130. Matrix Account

Managers—not CFEs—are Matrix’s customer “relationship managers” who handle escalated

claims processing issues, and fulfill non-claims processing related customer requests. Id. at 42.

        CFEs are similarly situated for purposes of resolving the “directly related prong”

because common proof shows that this prong should be resolved in their favor for three

reasons: CFEs’ primary duty (1) was to carry out the “day to day business of [Matrix] allowing

it to provide the [primary] service it charges customers for,”32 (2) CFEs’ job duties do not “go

to the heart of [Matrix’s] marketplace offerings, not to the internal administration of [Matrix’s]

business (or that of its customers),”33 and (3) CFEs only communicated with Matrix customers

about claim-specific issues and accordingly did not provide the type of “high level” advice

provided by advisors and consultants. Decertification is unwarranted here.

     D. CFEs are Similarly Situated for Resolving Whether They Qualified as Exempt
        Insurance Adjusters Under 29 C.F.R. 203(a).

        As recently explained by the Eleventh Circuit,

        A [DOL] regulation provides examples of categories of workers who “generally
        meet the duties requirements for the administrative exemption.” Id. §
        541.203(a)–(f) (listing categories of workers and some of the duties they
        perform). Workers who generally are administratively exempt employees

32 Clark., 44 F. Supp. 3d at 681, 684 (declining to analyze the “discretion” prong in
denying motion for decertification and granting summary judgment to similar group of
claims examiners that worked for third party administrator).
33 McKeen-Chaplin, 862 F.3d at 851 (“Because the [CFEs’] duties go to the heart of [Matrix’s]

marketplace offerings, not to the internal administration of [Matrix’s] business…., [Matrix]
cannot prove that the CFEs qualify for the administrative exemption.”).

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       include: insurance claims adjusters (so long as they have certain responsibilities,
       including the authority to settle claims), id. § 541.203(a); financial services
       employees (so long as they conduct analysis and do not simply sell financial
       products), id. § 541.203(b); team leaders assigned to complete major
       projects, id. § 541.203(c); executive or administrative assistants to business
       owners or senior executives (so long as they work “without specific instructions
       or prescribed procedures” and have delegated authority on matters of
       significance), id. § 541.203(d); human resources managers (but not personnel
       clerks who just gather information to “screen” job applicants based on
       minimum requirements), id. § 541.203(e); and purchasing agents who have the
       authority to bind a company on significant purchases, id. § 541.203(f).34

       29 C.F.R. 203(a) and the DOL Field Operations Manual, providing guidance on that

regulation, respectfully provide that,

       Insurance claims adjusters generally meet the duties requirements for the
       administrative exemption, whether they work for an insurance company or
       other type of company, if their duties include activities such as interviewing
       insureds, witnesses and physicians; inspecting property damage; reviewing
       factual information to prepare damage estimates; evaluating and making
       recommendations regarding coverage of claims; determining liability and total
       value of a claim; negotiating settlements; and making recommendations
       regarding litigation.35

      The exercise of discretion and independent judgment must be more than
      applying specific standards or procedures described in manuals. Adjusters
      exercising this elevated level of judgment perform duties including evaluating
      independent medical examinations; evaluating investigations of accident scenes,
      hiring and interacting with nursing services to assist claimants to return to work;
      approving litigation strategy; participating in hiring experts; serving as lead
      negotiator in settlement discussions and using their own judgment about what
      the facts show, who is liable, what a claim is worth, and how to handle
      negotiations with a claimant.36




34Fowler v. OSP Prevention Grp., Inc., --F.4th --, at *6 (11th Cir. 2022).
35In re Farmers., 481 F.3d at 1127 (quoting 20 C.F.R. 203(a)).
36 U.S. Dep't of Labor, Wage & Hour Div., Field Operations Handbook §§ 22j22 (a)-(c).

www.dol.gov/sites/dolgov/files/WHD/legacy/files/FOH_Ch22.pdf

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To succeed on its defense, Matrix must show “whether [the CFEs] performed a sufficient

number of the tasks listed” in 29 C.F.R. 203(a) “with sufficient discretion and [independence]

to satisfy the administrative exemption’s duties requirements.”37

      In In re Farmers Exchange, the Ninth Circuit determined whether claims adjusters were

exempt administrators. 481 F. 3d 1119 (9th Cir. 2007). In that case, the Ninth Circuit,

       relied heavily on DOL's regulations and also on several DOL Opinion Letters
       that discussed claims adjusters. Id. at 1128–29. As we explained then, “the fact
       that the adjusters ‘are not merely pursuing a standardized format for resolving
       claims, but rather are using their own judgment about what the facts show, who
       is liable, what a claim is worth, and how to handle the negotiations with either
       a policyholder or a third-party’ ” was “[e]ssential to the DOL's opinion.” Id. at
       1128 (quoting at DOL Wage & Hour Div. Op. Ltr., at 4–5 (Nov. 19, 2002)).38

In In Re Farmers, the Ninth Circuit determined that the “district court’s findings almost track

word for word for word the language in § 541.203, and thus establish that [the]

claims adjusters are exempt from the FLSA.” Farmers, 481 F.3d at 1129.

       Matrix’s Motion cites to cases in which courts have held that workers qualified for the

administrative exemption based on 29 C.F.R. 203(a). In each of those cases, (other than the

botched Julian decision), the workers were employed by insurance companies and used

judgment to determine claim value, negotiate claims and settle claims on behalf of their

employers.39 In contrast, courts regularly hold employees do not perform work under 29



37 Harper v. Gov't Emps. Ins. Co., 586 F. App'x 772, 775 (2d Cir. 2014).
38 McKeen-Chaplin v. Provident Sav. Bank, FSB, 862 F.3d 847, 853 (9th Cir. 2017)
39 Roe-Midgett v. CC Servs., Inc., 512 F.3d 865, 867 (7th Cir. 2008) (holding material damage

appraisers to be exempt where they estimated loss, negotiated with mechanics and body shops
and settled claims up to $12,000); In re Farmers, 481 F.3d at 1130 (holding insurance
adjusters exempt based on “district court’s findings almost track word for word the language
in § 541.203, and thus establish [the] claims adjusters are exempt.”); MClaughlin v. Nationwide
Mut. Ins. Co., 2004 WL 1857112, at *7 (D. Or. Aug. 18, 2004) (holding casualty claims

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C.F.R. 203(a) where the employees—like Plaintiffs here—do not used judgment to determine

claim value, participate in litigation, negotiate claims, or settle claims. 40

       Common proof here shows that the CFEs, at most, performed two of the eight tasks

listed in 29 C.F.R. 203(a), interviewing claimants and making recommendations regarding

coverage: CFEs did not inspect property damage, prepare damage estimates, determine

liability, negotiate settlements, or make recommendations regarding litigation; nor did they use

judgment to determine total claim value. 30B6 Dep., at 101. Common proof also shows that

the CFEs did not exercise the “elevated level of judgment” employed by insurance adjusters

because they, at most, performed two of the ten duties listed in the DOL Field Manual: CFEs

do not evaluate investigation of accident scenes, deal with nursing services to assist claimants

to return to work, approve litigation strategy, participate in hiring experts, serve as lead

negotiators in settlement discussions, use their own judgment about who is liable, use their


representatives exempt where they had authority to negotiate, settle and pay claims within their
settlement authority” and communicated with “attorneys on claims that went to litigation.”).
40 Fenton v. Farmers Ins. Exch., 663 F. Supp. 2d 718, 726 (D. Minn. 2009) (holding that while

fact that plaintiffs followed detailed manuals did not make them exempt, but the fact
that they followed such manuals while having no settlement authority compelled a
finding that they did not perform exempt work) (citing Cheatham v. Allstate Ins. Co., 465
F.3d 578, 585-586 (5th Cir.2006) (explaining that the “requirement that Allstate adjusters must
consult with manuals or guidelines does not preclude their exercise of discretion and
independent judgment,” and finding insurance employees exempt despite their compliance
with manuals and guidelines where they had discretion to determine liability
and negotiate settlements); Clark., 44 F. Supp. 3d at 683–84 (“Other than “evaluating and
making recommendations regarding coverage of claims,” CMs do not perform these roles [in
29 C.F.R. 203(a).] [CFEs] review … information and evaluate requested services using various
industry payment guidelines. Based on the summary judgment record before the Court, CMs
appear to occupy a distinct and separate niche from that of the insurance claims adjuster.”)
(citing Rieve v. Coventry Health Care, Inc., 870 F.Supp.2d 856, 873 (C.D.Cal.2012) (holding RN
case manager of workers compensation claims was not administratively exempt under state-
law analogue to FLSA because case manager’s claims review job duties were “far from
questions affecting management or the general business operations of the business”).

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own judgment to determine what a claim is worth, or how to handle settlement negotiations.

Id., at 100, 102-103. Again, common evidence shows that the CFEs did not use their own

judgment to determine liability, claim worth or how to handle settlement negotiations: These

are the factors the Ninth Circuit considered “essential to the DOL[] opinion” it relied heavily

on In Re Farmers, 41 which is the same case that forms the only basis for Matrix’s good faith

defense to liability in this case.42 CFEs are similarly situated for purposes of 29 C.F.R. 203(a).

     E. CFEs are Similarly Situated for Resolving the “Discretion” Prong

        As recently explained by one court in determining that a recruiter did not exercise

sufficient discretion and independent judgment to qualify as an exempt administrator:

        The regulations instruct that “[i]n general, the exercise of discretion and
        independent judgment involves the comparison and the evaluation of possible
        courses of conduct, and acting or making a decision after the various
        possibilities have been considered,” and that “the term ‘matters of significance’
        refers to the level of importance or consequence of the work performed.” §
        541.202(a). The same regulation then goes on to describe multiple factors to be
        considered which principally include among others the employee's “authority to
        formulate, affect, interpret, or implement management policies or operating
        practices;” “whether the employee carries out major assignments in conducting
        the operations of the business;” “whether the employee performs work that
        affects business operations to a substantial degree;” “whether the employee has
        authority to waive or deviate from established policies and procedures without
        prior approval;” and “whether the employee has authority to negotiate and bind
        the company on significant matters.” § 541.202(b).

        In light of these factors (and all others specified in the regulation), it is clear to
        me that the evidence falls well short of showing that plaintiff's job involved the

41 In re Farmers., at 1128 (“Essential to the DOL's opinion was the fact that the adjusters “are
not merely pursuing a standardized format for resolving claims, but rather are using their own
judgment about what the facts show, who is liable, what a claim is worth, and how to handle
the negotiations with either a policyholder or a third-party.”)
42 See 30B6 Dep., at 204, 209, 211-213; Ex. B (containing joint stipulation of dismissal filed in

Ries v. Matrix Absence Management, No. 2:16-cv-3388 (ECF 23) (“[I]t was Matrix's position that
the … Plaintiffs were appropriately classified as exempt under the administrative exemption,
citing 29 C.F.R. § 541.203 and In re Farmer Ins. Exch., [] 481 F.3d 1119 (9th Cir. 2007).”).

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       “exercise of discretion and independent judgment with respect to matters of
       significance.” Plaintiff had no policymaking authority, did not carry out major
       assignments for the overall business, and had no authority to bind the company
       on significant matters…. See also Harper v. Gov't Employees Ins. Co., 586 Fed.
       Appx. 772, 774 n.* (2d Cir. 2014) (...employees “did not qualify as administrative
       employees where they performed such routine processing functions that they
       failed to affect the employer's general business operations”).43

Common proof shows that: CFEs here had no policy making authority, did not carry out

major assignments of the business, negotiate or bind the company with respect to significant

matters. 30B6, at 104-05, 117, CFEs also had no authority to deviate from customer plan

criteria to process claims.44 Rather, customer plan criteria (or state/federal law for FMLA

claims) controlled the CFEs’ decisions made. CFE discretion is further constrained by Matrix

policies and procedures that set mandatory timeframes to perform specific duties, and audits

performed by Matrix supervisors, “audit team,” and QA Department to ensure policy

adherence.45 Courts routinely find “similar evidence to be sufficient to certify a class of

purportedly misclassified under Rule 23(b)(3).”46 Common proof will also show that all CFEs

performed ordinary inspection work under 29 C.F.R. 203(g). Like the plaintiffs in Rego and

Clark, the evidence here shows CFEs primarily perform claims review functions, meaning they


43 Sierra v. New England Pers. of Hartford, LLC, No. 3:15-CV-1520 (JAM), 2017 WL 3711579, at
*4 (D. Conn. Aug. 28, 2017) (granting summary judgment to recruiter whose employer claimed
she performed “human resources” functions for employer); see also ECF 105, p. 9 (“They were
primarily responsible for performing human resources functions for their client.”).
44 30B6 Dep., at 151-152 (“Matrix’s goal on ever claim… is to provide a… review of the

claim… and to make a determination in compliance with the terms of the disability plan of
policy.”). Id., at 157 (CFEs “need to understand how the dates of service apply to the policies
we administer….”) of the client’s… plan or policy…? A: Yes.”) Id., at 75 (“I mean,
determining eligibility just depends on the specific contractor policy, right?”); See also, Id., at
158-159, 166.
45 Id., at 35-36, 57-58.
46 Dobrosky v. Arthur J. Gallagher Serv. Co., LLC, 2014 WL 10988092, at *13 (C.D. Cal. July 30,

2014) (collecting cases).

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were required to “gather… information, and compare this information to [criteria in customer

plans] to determine” benefit eligibility.”47 Clark and Rego’s conclusion that, “examining medical

information and applying it to utilization review guidelines” is inspector-type work under 29

U.S.C. § 541.203(g), which includes “specialized work along standardized lines involving well-

established techniques and procedures, which may have been catalogued and described in

manuals or other sources,” equally applies [to the common facts of the collective] here.”48

       While Matrix cites differences amongst the collective, the differences cited by Matrix49

are not appropriate for consideration at decertification under Campbell and Scott.50 In Scott, the


47 Clark, 656 F. App'x 688, 689 (5th Cir. 2016).
48 Rego, at 857; Clark, 656 F. App'x at 692-693.
49
   Moreover, some of the differences cited by Matrix simply do not matter because they do not
involve CFEs’ primary duty (Motion, p. 16-17, “Other examples of discretion and judgment”).
Other differences simply do not matter—here or at summary judgment because Plaintiffs’
duties do not involve preparing using judgment to determine liability, provide damage
estimates or claim value, negotiating claims or settling claims. Fenton v. Farmers Ins. Exch., 663
F. Supp. 2d 718, 726 (D. Minn. 2009) (holding that while fact that plaintiffs followed
detailed manuals did not make them exempt, but the fact that they followed such
manuals while having no settlement authority compelled a finding that they did not
perform exempt work); (citing Cheatham v. Allstate Ins. Co., 465 F.3d 578, 585-586 (5th Cir.
2006) (finding insurance employees exempt despite their compliance with manuals and
guidelines where they had discretion to determine liability and negotiate settlements);
ECF 112, p. 14-15 (discussing differences in how plaintiffs “quantified claims” and referring
to DOL Wage & Hour Div. Op. Ltr., at 4–5 (Nov. 19, 2002)) (providing that the claims
adjusters had “full and final authority to settle claims within their designated authority).
ECF 112, p. 11-12 (explaining differences on whether plaintiffs used guidelines to process
claims) (citing Roe-Midgett v. CC Servs., Inc., 512 F.3d 865, 875 (7th Cir. 2008) (holding that use
of estimating software did not alleviate need to alleviate discretion where the claims adjusters
did not use the software program to “settle a claim within their prescribed settlement
authority”). Notably, Matrix cites no case law to support that the differences in how CFEs’
made “decisions regarding approval or denial” of claims makes decertification appropriate,
other than out-of-circuit case law addressing pre-Campbell conditional certification and
decertification standards, which have no import here. ECF 112, pp. 6, 8 (citing Green, 888 F.
Supp. at 1102); and Mike, 274 F. Supp. 2d 216 at 220.
50
   Scott v. Chipotle Mexican Grill, Inc., 954 F.3d 502, 521–22 (2d Cir. 2020) (in case involving the
administrative and executive exemptions, in which the court adopted the Campbell standard,

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Second Circuit, remanded an order granting decertification, explaining that the district court

correctly noted, “the differences51 between the actual job duties of [CFEs] are better suited

for the predominance inquiry,”

        If named plaintiffs and opt-in plaintiffs are similar in some respects material to
        the disposition of their claims, collective treatment may be to that extent
        appropriate, as it may to that extent facilitate the collective litigation of collective
        plaintiffs' claims…. Because the district court conflated the standards for
        maintaining a collective action under § 216(b) and a class action under Rule 23,
        we vacate the decision of the district court and remand for further proceedings
        consistent with this opinion.

Scott, at 522. Accordingly, decertification must be denied under the Campbell standard.

   I.      CONCLUSION

        Plaintiffs have established that they are similarly situated with respect to resolving two

prongs of Matrix’s only defense in this case, either of which is dispositive and material to the

disposition of this action. Under Campbell, the Court must deny Matrix’s unsupported bid for

decertification here. In the unlikely event that the Court determines the collective to be

similarly situated with respect to one prong of the exemption at issue, Plaintiffs suggest that




noting that the “district court correctly noted, the differences in the actual job duties of the
[CFEs] ‘are better suited for the predominance inquiry…” and that the differences cited “will
not prove fatal to the similarly situated analysis in the same way they proved fatal to the
predominance inquiry in this case.”);
51
   Scott v. Chipotle Mexican Grill, Inc., 2017 WL 1287512, at *9 (S.D.N.Y. Mar. 29, 2017), aff'd in
part, vacated in part, remanded, 954 F.3d 502 (2d Cir. 2020) (“The disparities in job duties in this
case seems axiomatic considering that the 516 opt-in plaintiffs worked [in] 37 states across…
nine geographic regions…. [The employees] also explained that work settings were also
different with regard to: (i) the budget; (ii) payroll and wages; (iii) responsibility over inventory
which became “a much more ... active role”; (iv) termination decisions, …. (v) promotions,
which grew from none to providing the main recommendation; (vi) her role in the “financial
success of the restaurant”; and (vii) the amount of time she spent performing tasks Crew could
perform, which decreased from 85-90% of her time to only 30%.”).

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the Court order expedited briefing on issue so that it can be readily adjudicated on a collective

basis in compliance with Campbell. See, n. 4.

                                                     DATED this 22ND Day of July 2022

                                                     /s/ Jack Siegel

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                                 CERTIFICATE OF SERVICE

       I certify that the foregoing was electronically filed through the Court’s CM/ECF filing
system and that all counsel will receive notice of this filing through this District’s CM/ECF
system on the date of this filing.
                                                    /s/ Jack Siegel
                                                    JACK SIEGEL




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